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                                                                         HELP     MENU


  Home ∠ Charities and Non-Profits ∠ Search for Charities
  ∠ Tax Exempt Organization Search


  Tax Exempt Organization Search
  Select Database 

    Search All                                                                           


  Search By 

    Employer Identification Number (EIN)                                                 


  Search Term 

    Enter EIN Number


  City

    Enter City


  State                                               Country

    All States                                          United States                   




                      Search                                              Reset


  Search Tips




https://apps.irs.gov/app/eos/                                                       1/30/2020
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  ∠ Tax Exempt Organization Search


  Results for Tax Exempt Organization
  Search
  Select Database 

    Search All                                                                             


  Search By 

    Employer Identification Number (EIN)                                                   


  Search Term 

    XX-XXXXXXX


  City

    Enter City


  State                                               Country

    All States                                          United States                     




                    Search                                                Reset


  Search Tips




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  Showing 1-1 results of 1
  Sort by:                                Name A-Z                                                   




  Key Worldwide Foundation
  EIN: XX-XXXXXXX | Newport Beach, CA, United States
    Pub 78 Data         Copies of Returns


                                                                         Items per page:   25    
                                                                                       Return to Top
  Additional information
   • Frequently asked questions - Exempt Organizations Select Check
   • Revocations of 501(c)(3) Determinations
   • Suspensions Pursuant to Code Section 501(p)
   • Exempt Organizations Business Master File Extract (EO BMF): a list of organizations
     recognized as exempt by the IRS
   • Tax Exempt Organization Search: Bulk Data Downloads




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                                                                        HELP            MENU


  Home ∠ Tax Exempt Organization Search ∠ Key Worldwide Foundation


  Back to Search Results


  Key Worldwide Foundation
  EIN: XX-XXXXXXX | Newport Beach, CA, United States



      ∠ Other Names


  Publication 78 Data 
  Organizations eligible to receive tax-deductible charitable contributions. Users may rely on this
  list in determining deductibility of their contributions.
  On Publication 78 Data List: Yes
  Deductibility Code: PC




  Copies of Returns (990, 990-EZ, 990-PF,
  990-T) 
  Electronic copies (images) of Forms 990, 990-EZ, 990-PF or 990-T returns filed with the IRS by
  charities and non-profits.


      ∠ Tax Year 2016 Form 990



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